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 7

 8                              IN THE UNITED STATES DISTRICT COURT

 9                          FOR THE NORTHERN DISTRICT OF CALIFORNIA

10                                        SAN JOSE DIVISION

11

12   UNITED STATES OF AMERICA,             )             No. CR 15-00226 BLF
                                           )
13                     Plaintiff,          )             DEFENDANT’S MOTION IN LIMINE NO.
                                           )             1 TO PRECLUDE THE COURT FROM
14                                         )             SENDING INDICTMENT INTO THE JURY
     vs.                                   )             ROOM
15                                         )
                                           )             Pretrial Conference: July 16, 2015
16                                         )             Time: 2:00 p.m.
     DOUGLAS STORMS YORK,                  )
17                                         )             Trial Date: July 20, 2015
                       Defendant.          )
18   _____________________________________ )             Honorable Beth Labson Freeman

19

20           Defendant Douglas Storms York, by and through his counsel, submits the following motion

21   in limine in conformity with the Court’s pretrial order and Local Rule 47-2. This motion is based

22   upon the attached memorandum of points and authorities, all files and records in this case, and any

23   further evidence as may be adduced at the hearing on this motion. Mr. York reserves the right to

24   supplement this motion during the course of trial as needed.

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26   \\\

     Def.’s Motion In Limine No. 1
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 1                                               ARGUMENT

 2   I.      The Court Should Not Send the Indictment Into the Jury Room During Deliberations

 3           Neither the Federal Rules of Criminal Procedure nor case law requires sending a copy of the

 4   indictment to the jury room, because the indictment is not evidence. As the commentary to Model

 5   Instruction 3.2 (“Charge Against Defendant Not Evidence”) indicates, special care must be taken

 6   if the indictment is sent into the jury room during deliberations. Therefore, the better practice is not

 7   to send the indictment into the jury room.

 8           Mr. York requests that this Court follow the Committee’s guidance. The language in the

 9   instant indictment “tracks” the language of the charged statute. Accordingly, it is probable that

10   jurors will be persuaded by the similarities alleged in the indictment returned by the grand jury and

11   the elements which must be proven in the charged statute to speculate that another jury—the grand

12   jury—already made the relevant determinations in this case. Similarly, the indictment recites “the

13   grand jury charges,” and this could persuade those jurors without experience with the grand jury

14   system that another jury already found Mr. York guilty.

15           Mr. York also requests that this Court caution the jury that the indictment is not evidence.

16   See United States v. Utz, 886 F.2d 1148, 1151-1152 (9th Cir. 1989).

17                                             CONCLUSION

18           For the foregoing reasons, Mr. York respectfully requests that the Court grant this motion,

19   and accord such other relief as this Court deems just. Mr. York requests leave to file further motions

20   as may be necessary.

21
      Dated: July 2, 2015                                    Respectfully submitted,
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23                                                           STEVEN G. KALAR
                                                             Federal Public Defender
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25                                                                s/
                                                             GRAHAM ARCHER
26                                                           Assistant Federal Public Defender

     Def.’s Motion In Limine No. 1
     CR 15-00226 BLF                                    2
